                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                  NORTHERN DIVISION

 IN RE:                                          )
                                                 )
 In The Wind, LLC,                               )    CASE NO. 19-81991-CRJ11
 Tax ID / EIN: -5230                             )
                                                 )
          Debtor.                                )    CHAPTER 11


   BANKRUPTCY ADMINISTRATOR'S RECOMMENDATION CONCERNING THE
    DEBTOR'S APPLICATION TO EMPLOY ELIZABETH PLASTERS, CPA, AS A
                           PROFESSIONAL

       COMES NOW the United States Bankruptcy Administrator for the Northern District of
 Alabama, by and through the undersigned counsel of record, and regarding the application to
 employ a CPA filed by the debtor, states as follows:

         1. The Bankruptcy Administrator, has reviewed the application to employ Elizabeth
 Plasters, CPA, (“Applicant”) as a Professional filed by the debtor in the above styled case and
 finds that the same does not comply with the requirements of 11 U.S.C. §327(a) and Rule 2014
 of the Federal Rules of Bankruptcy Procedure. The application does not contain a verified
 statement disclosing any connections of the Applicant to the Debtor or parties in interest.

         WHEREFORE, these premises considered, the Bankruptcy Administrator recommends
 that the Court not approve the application to employ Elizabeth Plasters, CPA, until the
 application is supplemented with a verified statement as required by Bankruptcy Rule 2014.

          Respectfully submitted 10 September 2019.

                                             J. THOMAS CORBETT
                                             United States Bankruptcy Administrator for the
                                             Northern District of Alabama

                                             BY:      /s/ Richard M. Blythe
                                                      Richard M. Blythe
                                                      Assistant U.S. Bankruptcy Administrator
                                                      Alabama. Bar ID: ASB-3199-B52R

 OF COUNSEL:
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 Northern District of Alabama
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 400 Well Street NE, Room 236
 Decatur, Alabama 35602
 (256) 340-2740

                                 CERTIFICATE OF SERVICE

         I hereby certify that on 10 September 2019, I have served a copy of the foregoing on the
 parties listed below by depositing the same in the United States Mail, postage prepaid and
 properly addressed, or if the party being served is a registered participant in the CM/ECF System
 for the United States Bankruptcy Court for the Northern District of Alabama, service has been
 made by a "Notice of Electronic Filing" pursuant to FRBP 9036 in accordance with subparagraph
 II.B.4. of the Court's Administrative Procedures.

 Richard L Collins, Esq., via CM/ECF electronic service at richard@rlcollins.com

                                             /s/ Richard M. Blythe
                                             Richard M. Blythe
                                             Assistant U.S. Bankruptcy Administrator




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